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 2
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 6

 7                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 8
     CHRISTOPHER SENN; JASON                       No. 2:22-cv-254
 9
     BEWLEY; JERED FULLEN,
10   DISABILITY RIGHTS                             DEFENDANTS SPOKANE
     WASHINGTON,                                   COUNTY AND SHERIFF
11   and JEWELS HELPING HANDS,                     KNEZOVICH REPLY TO
                                                   PLAINTIFFS’ MOTION FOR
12                             Plaintiffs,         PRELIMINARY RELIEF
        v.
13

14   CITY OF SPOKANE, a municipal
     corporation; SPOKANE COUNTY, a
15   municipal corporation; OZZIE
     KNEZOVICH, in his official capacity as
16
     Spokane County Sheriff; CRAIG
17   MEIDL, in his official capacity as
     Spokane Police Chief,
18
                               Defendants.
19

20           COMES NOW Defendants SPOKANE COUNTY and SHERIFF OZZIE
21
     KNEZOVICH (hereinafter “Defendants County”) by and through Deputy
22
     Prosecuting Attorney F. Dayle Andersen replies to replies motion for temporary
23
     restraining order and declaratory judgment:
24
     DEFENDANTS SPOKANE COUNTY AND
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 1                                     I. INTRODUCTION
 2
            Since December of 2021, the City of Spokane and Spokane County have had
 3
     a group of individuals engaged in an active protest concerning funding for homeless
 4
     persons in the Spokane area. See https://www.spokesman.com/stories/2022/dec/04/
 5
     one-year-later-camp-hope-remains-open-spokanes-may/.
 6

 7          After removing the protest from City Hall the protesters set up an encampment

 8   at the location of Ray Streets and Third Avenue in Spokane upon a Washington State
 9
     Department of Transportation (“WSDOT”) right-of-way property.                         See,
10
     https://www.spokesman.com/stories/2022/sep/22/knezovich-plans-to-clear-camp-
11
     hope-by-mid-october/.
12
            In response to numerous citizens’ complaints concerning property vandalism,
13

14   thefts, prostitution, public urination, defecation and drug use, the County took action

15   by filing a nuisance complaint against WSDOT concerning the activities taking place
16
     at the homeless encampment.
17
            The County sought a motion for preliminary injunction before the Spokane
18
     County Superior Court and WSDOT filed reply in opposition to such. In their reply
19
     to the County’s motion, as well as in their letter of interest to the court in this matter,
20

21   WSDOT identifies the individuals present at the encampment as trespassers.

22

23
             II. RESPONSE TO PLAINTIFFS’ STATEMENT OF FACTS
24
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 1         Over the last year, the City has created low barrier bed space for homeless
 2
     individuals at the Trent Regional Assistance Center (“TRAC”) along with services
 3
     to address drug and alcohol abuse, veteran’s aid, housing assistance, and mental and
 4
     behavioral health services. See https://my.spokanecity.org/news/
 5
     releases/2022/08/30/trent-resource-and-assistance-center-set-to-open/.
 6

 7         The TRAC is expected to have a total of 450 spaces, including both beds (350)

 8   and floor mat spaces (100), to provide for low barrier shelter within the next week.
 9
     https://www.spokanepublicradio.org/regional-news/2022-11-22/salvation-army-
10
     faces-staffing-challenges-as-city-prepares-to-expand-new-trent-shelter.
11
           As result of the opening and operation of the TRAC center, as well as, the
12
     opening of the Catalyst facility operated by Catholic Charities with an additional 100
13

14   beds for transitional housing, a surplus of low barriers bed spaces are expected to

15   exist within the County. https://www.spokesman.com/stories/2022/dec/05/this-is-
16
     what-we-need-gov-inslee-says-of-catalyst-p/.
17
           Following a recent fire at the encampment, as well as helicopter operations, it
18
     has been determined that the encampment currently has 240 individuals residing at
19
     the homeless encampment. See Declaration of Chief Brian Schaeffer, Declaration
20

21   M. Voigt filed herein.

22         As to the inhabitants on the WSDOT right-of-way, there exists or will exist
23
     sufficient bed space to shelter the individuals currently residing thereupon.
24
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 1                                     III. DISCUSSION
 2
           In plaintiffs’ motion, the inhabitants assert that they reside on the state property
 3
     at issue with the consent of the state. The letter of interest from the state paints a
 4
     difference picture. While WSDOT does tolerate the encampment, they do not appear
 5
     to consent to the occupation, and identifies them as trespassers.
 6

 7         The plaintiffs rely heavily on the Martin v. Boise, 920 F.3d 584(9th Cir., 2019)

 8   and Johnson v. Grants Pass, 20-35752 (9th Cir., 2022) cases to assert that they
 9
     possess a constitutional right to the continuing occupation of state owned land. No
10
     court cases have provided such an expansive right to homeless individuals.
11
     A.1. Plaintiffs Fourth Amendment Invasion Claims
12
           In their brief plaintiffs assert that their Fourth Amendment, right to privacy,
13

14   has been violated by law enforcement deploying infrared technology to determine

15   the number of inhabitants at the encampment. Plaintiffs rely on Kyllo v. U.S., 533
16
     U.S. 27 (2001), this reliance is misplaced. Kyllo involved an infrared search for a
17
     marijuana grow located inside a person’s home. Here the plaintiffs reside in tents
18
     and trailers located on state owned right-of-way land.
19
           The holding in Kyllo was based in part on the fact that government’s search
20

21   was performed by the Government “us[ing a] device that is not in general public

22   use, to explore details of the home that would previously have been unknowable
23
     without physical intrusion, the surveillance is a ‘search’ and is presumptively
24
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 1   unreasonable without a warrant.” Id. at 40. Since the time of Kyllo infrared
 2
     cameras mounted upon drones have become readily available to the public at large.
 3
     See              https://www.amazon.com/dp/B086DVCX8V?tag=projectgoprot-
 4
     20&th=1&psc=1&geniuslink=true.         The ability to purchase and use infrared
 5
     cameras mounted on drones by the general public significantly erodes the
 6

 7   rationalization for the Kyllo holding as any reasonably objective person

 8   understands that such infrared cameras can be and are used commonly.
 9
           Similarly, in California v. Ciraolo, the U.S. Supreme Court held that
10
     observation “within public navigable airspace . . . in a physically nonintrusive
11
     manner . . .” does not constitute an illegal search under the Fourth Amendment. Id.
12
     476 U.S. 207, 213, 106 S. Ct. 1809, 1813, 90 L. Ed. 2d 210 (1986). “As a general
13

14   rule, the observation of a constitutionally protected area by a government agent

15   standing in an open field or a public space does not constitute a ‘search’ within the
16
     meaning of the Fourth Amendment.” United States v. Dellas, 355 F. Supp. 2d 1095,
17
     1107 (N.D. Cal. 2005), [notes Kyllo’s reasoning based on use of a device that ‘is
18
     not in general public use’].
19
           There is no actionable Fourth Amendment violation that has occurred in this
20

21   matter as the purported entry was performed in public airspace and infrared camera

22   drones are now commonly available to public, thus diminishing the reasonable
23
     expectation of privacy.
24
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 1   A.2. Plaintiffs Eight Amendment Claims
 2
           Unlike the Martin v. Boise, 920 F.3d 584(9th Cir., 2019) and Johnson v.
 3
     Grants Pass, 20-35752 (9th Cir., 2022), in this instance there is no ordinance or
 4
     code at issue. The County defendants are not seeking to impose jail sentences or
 5
     fines. They are seeking to transition homeless individuals using state property to
 6

 7   available bed spaces. The County defendants, through judicial process, have sought

 8   a determination concerning a continuing nuisance that requires a balancing of
 9
     interests between residences and businesses adjacent to the encampment and rights
10
     of the individuals currently identified as trespassers by the property owner
11
     WSDOT. Plaintiffs assert that the individual rights of the trespassers should
12
     surpass those of lawful property owners who continue to suffer the consequences
13

14   of the unlawful and unauthorized acts of the camp inhabitants.

15         County defendants transitioning individuals on the property into shelters and
16
     other facilities is consistent with the court’s holdings in the Martin and Johnson
17
     cases. Even assuming for purposes of argument that defendants do not possess
18
     sufficient bed spaces for those individuals subject to a purported sweep by
19
     defendants via law enforcement, this does not mean that defendants can take
20

21   absolutely no action. Consistent with both Martin and Johnson, defendants can

22   transition individuals from the right-of-way to shelter facilities up until the time
23
     that such bed spaces are filled.
24
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 1         Given the current understanding of the population of the encampment,
 2
     sufficient bed spaces are or will be available at the time of any action on the part
 3
     of the defendants. Were the court to adopt the plaintiffs’ argument presented in
 4
     their request, in any instance where every single homeless person could not be
 5
     placed into a shelter bed the local authorities could take no action in any
 6

 7   circumstances concerning illegal camping on public property.          Clearly, this

 8   exceeds the scope and intent to the court’s rulings in both Martin and Johnson.
 9
     A.3. Plaintiffs claim based on First Amendment and Fifth Amendment
10
           The continuing trespassing and illegal activities upon state property should
11
     not be considered protected conduct under the first amendment. Defendants assert
12
     that their efforts to transition the encampment inhabitants represent nothing more
13

14   than reasonable time, place, and manner restrictions.

15         [E]ven in a public forum the government may impose reasonable restrictions
           on the time, place, or manner of protected speech, provided the restrictions
16
           ‘are justified without reference to the content of the regulated speech, that
17         they are narrowly tailored to serve a significant governmental interest, and
           that they leave open ample alternative channels for communication of the
18         information.’
           Ward v. Rock Against Racism, 491 U.S. 781, 791, 109 S. Ct. 2746, 2753,
19         105 L. Ed. 2d 661 (1989).
20
           There is no “inherently expressive” aspect involved in the illegal occupation
21
     of state property. Wong v. Bush, 542 F.3d 732, 736 (9th Cir. 2008), citing, Rumsfeld
22
     v. Forum for Academic and Institutional Rights, Inc., 547 U.S. 47, 126 S.Ct. 1297,
23

24   1310, 164 L.Ed.2d 156 (2006).
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 1          None of the proposed actions of defendants Spokane County limits the
 2
     plaintiffs right to freely associate or to express their opinions in a reasonable time,
 3
     place and manner. Conversely, the admitted criminal activities of the inhabitants
 4
     at the encampment continue to have a substantial impact on the adjacent property
 5
     owners. The rights of the camp inhabitants do not and should not outweigh the
 6

 7   rights of the neighbors reasonable enjoyment of their property.

 8          The County defendants do not plan to arrest or confine any of the individuals
 9
     at the encampment.        The alleged First Amendment violations purported by
10
     plaintiffs are invalid.
11
            There is no property taking alleged, there is no violation of a right to jury
12
     trial, there is no criminal component applicable to this matter. In fact, both the City
13

14   and the County have incurred significant expense to provide for the storage of

15   personal property for any inhabitants of the encampment at the TRAC facility.
16
            Plaintiffs argument of guilt by association are nothing more than a
17
     misdirection to this court. The clear relationship between the inhabitants and the
18
     demonstrated substantial increase in criminal activity in the area is demonstrated
19
     by the numerous declarations on file. The argument that there is no evidence that
20

21   “a majority of other residents” have not engaged in criminal activity (See, Plaintiff

22   Amended motion, p. 14, ll. 7-9) appears to be an explicit acknowledgement by
23
     plaintiffs that there are individuals from the encampment engaged in criminal
24
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 1   activities affecting the neighboring property owners. There is a clear nexus
 2
     between the inhabitants of the encampment and significant crime increase
 3
     identified in the area. The purported impact to the encampment inhabitants rights
 4
     of association and expression should not protect the plaintiffs from the
 5
     consequences of their acknowledged illegal conduct.
 6

 7   A.4. Plaintiffs’ ADA Complaints

 8         The plaintiffs have also asserted that the actions of the defendants will result
 9
     in violations of certain individual’s rights based on the ADA. Plaintiffs’ provide
10
     mere supposition that some individuals will suffer some unknown consequences
11
     as a result of removing these individuals from an unimproved street lot and into a
12
     shelter where service providers are engaged in providing active assistance to the
13

14   inhabitants. It belies reason to argue that disabled individuals are better suited by

15   remaining out in the elements and having to maneuver through an unimproved dirt
16
     lot. Yet, this is precisely what they have asserted. The proposed actions of the
17
     County of transitioning the camp inhabitants to a permanent building with heat,
18
     water and sanitary facilities will provide improved living conditions for individuals
19
     currently living in a situation that can considered no better than camping.
20

21         Given the significant actions of the City and County to provide for meals,

22   beds, storage of personnel property, medical and behavioral health services,
23

24
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 1   addiction treatment, and benefits assistance through the TRAC and related
 2
     facilities, plaintiffs position lacks any basis in fact.
 3
            B. Plaintiffs have failed to demonstrate irreparable harm
 4
            The arguments submitted by plaintiffs fail to demonstrate any irreparable
 5
     harm sufficient to grant injunctive relief. The harm suggested by plaintiffs appear
 6

 7   to be solely related to the non-meritorious constitutional violations and to stress an

 8   instability among the inhabitants based on unreasonable fears of being moved to
 9
     shelter facilities. Again, plaintiffs fail to recognize or address the conditions that
10
     these individuals are currently residing in and the significant detrimental impact
11
     that this has on their quality of life. The inhabitants are currently living without
12
     heat, with limited sanitary facilities in temporary shelters such a tents, camp
13

14   trailers, recreational vehicles and pallet and tarp constructions. At least one of the

15   trailers at the site has already caught fire and resulted in its total destruction,
16
     highlighting the jeopardy that currently exists for persons residing at the
17
     encampment. See Schaeffer declaration. As winter progresses, it is highly likely
18
     that the camp inhabitants will seek to provide themselves with sources of heat
19
     though portable methods. This will likely include portable propane heaters and
20

21   wood fires increasing the likelihood of fire hazards.

22   C.     Motion for Declaratory Judgment
23

24
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 1          The right to declaratory relief is set forth in 28 U.S.C §2201 which provides
 2
     that a court “may declare the rights and other legal relations of any interested party
 3
     seeking such declaration, whether or not further relief is or could be sought. Any
 4
     such declaration shall have force and effect of a final judgment or decree and shall
 5
     be reviewable by such.” Id. The plaintiffs seek to have the court rule upon shortened
 6

 7   notice and provide declaratory relief with insufficient time or notice for the

 8   defendants to respond. Although the court has the authority to advance a matter and
 9
     consolidate under FRCP 65(a)(2), defendants assert that under these conditions the
10
     granting of any such declaratory relief is unnecessary and the necessity to respond by
11
     defendants on such short notice places an unfair burden upon them. Defendants
12
     Spokane County and Sheriff Knezovich, request that the court deny declaratory relief
13

14   as requested by plaintiffs herein until such time as the court can be fully briefed on

15   the facts and law, and denying such relief presents no adverse consequences to the
16
     plaintiffs.
17
                                     IV. CONCLUSION
18
            Defendants respectfully request that the court deny the remedies sought by
19   plaintiffs.
                 DATED this 9th day of December 2022.
20
                                      LAWRENCE H. HASKELL
21                                    Spokane County Prosecuting Attorney

22                                    _____________________________________
                                      F. Dayle Andersen, WSBA# 22966
23
                                      Attorneys for Defendants Spokane County and
24                                    Sheriff Ozzie Knezovich
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 1                               CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on December 9, 2022, I electronically filed the foregoing
 4
     with the Clerk of the Court using the CM/ECF System, which in turn automatically
 5
     generated a Notice of Electronic Filing (NEF) to all parties in the case who are
 6

 7   registered users of the CM/ECF system. The NEF for the foregoing specifically

 8   identifies recipients of electronic notice.
 9

10                                                     _________________________
                                                       Ashley E. Musick
11

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24
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